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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

                                              )       CIVIL ACTION NO. 1:15-cv-13015-NMG
iQUARTIC, INC.,                               )
     Plaintiff,                               )
                                              )       iQUARTIC, INC.’S EX PARTE
                                              )       APPLICATION FOR TEMPORARY
v.                                            )       RESTRAINING ORDER AND MOTION
                                              )       FOR PRELIMINARY INJUNCTION
W. BARRETT SIMMS,                             )
          Defendant.                          )
                                              )

       The Plaintiff, iQuartic, Inc. (“iQuartic”), moves pursuant to Fed. R. Civ. P. 65(b)(1)(B),

for an ex parte entry of a temporary restraining order and, following notice and hearing,

preliminary injunction maintaining the status quo regarding all electronically stored information

(“ESI”) in the possession, custody and control of the Defendant, W. Barrett Simms (the

“Defendant”), and hereby enjoin the Defendant to: (1) immediately surrender and produce of all

of his personal computers, as well as all of his tablets or other personal electronic devices,

including smart phones, for immediate review, copying and imaging by a computer forensics

expert in order to capture and preserve any such itemized proprietary, trade secret, and/or

confidential information and materials belonging to iQuartic found on said device(s) in accord

with Defendant’s contractual agreements with iQuartic; and (2) participate in an immediate exit

interview whereby Defendant transfers the documented knowledge and/or associated information

to iQuartic’s software engineers necessary to utilize the software code work product that

Defendant was paid to develop while at iQuartic on behalf of iQuartic (collectively, the “Code”).

       iQuartic brings this Application on an ex parte basis due to the electronic nature of the

information, prior notice could result in the Defendant taking steps to delete, destroy or

otherwise dispose of the electronic data. What’s more, due to the size and very portable nature
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of the computers and other electronic devices containing the data, prior notice could result in the

Defendant taking similar steps to hide, secrete, destroy or otherwise dispose of the devices

themselves before a judicial order regarding their preservation and production attaches to the

Defendant. Any of these events would be severely prejudicial to iQuartic and could cause

irreparable harm to iQuartic’s business interests.

        In addition, the Defendant has demonstrated through his course of conduct leading up to

his resignation from iQuartic that he is dishonest. And, more importantly, upon information and

belief the Defendant fled the state of Massachusetts to avoid service of iQuartic’s Complaint and

Jury Demand. iQuartic’s position is set forth in more detail in the Affidavit in support hereof

from iQuartic’s Chief Executive Officer and Founder, Ze Jiang.

        A memorandum in support of the Application for Temporary Restraining Order and

Motion for Preliminary Injunction is attached hereto.

                                                     Respectfully submitted,
                                                     iQUARTIC, INC.
                                                     By its attorneys:


                                                     //s// William S. Rogers, Jr.
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Dated: July 31, 2015




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